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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 IN RE: ABBOTT LABORATORIES, ET AL.,                          MDL No. 3026
 PRETERM INFANT NUTRITION
 PRODUCTS LIABILITY LITIGATION                                Master Docket No. 1:22-cv-00071

                                                              Case No. 1:22-cv-05356
 This Document Relates to:

 Keosha Diggs, Individually and as Parent and                 Hon. Rebecca R. Pallmeyer
 General Guardian of K.B., a minor v. Abbott
 Laboratories, et al.                                         JURY DEMAND

                   ABBOTT’S MOTION FOR SUMMARY JUDGMENT

       In accordance with the Court’s May 15, 2025 Minute Entry (Dkt. 43), Defendants Abbott

Laboratories and Abbott Laboratories, Inc. (collectively, “Abbott”) hereby move pursuant to

Federal Rule of Civil Procedure 56(a) and Local Rule 56.1 for summary judgment on all Counts

in Plaintiff Keosha Diggs’s Complaint. In support of its Motion, Abbott separately submits and

incorporates by reference herein:

       1.      Abbott’s Memorandum of Law in Support of Its Motion for Summary Judgment;

       2.      Abbott’s Local Rule 56.1(a)(2) Statement of Material Facts in Support of Its
               Motion for Summary Judgment;

       3.      Exhibits to Abbott’s Local Rule 56.1(a)(2) Statement of Material Facts in Support
               of Its Motion for Summary Judgment.

       As demonstrated in the foregoing, there is no genuine dispute as to any material fact and

Abbott is entitled to judgment as a matter of law on all counts.

       WHEREFORE, Abbott respectfully requests that the Court enter an Order granting

summary judgment in Abbott’s favor on all counts and dismissing this action, and granting such

other and further relief as the Court may deem just and appropriate.

 Dated: June 2, 2025                          Respectfully submitted,
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                                   /s/ Linda T. Coberly

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                                   Abbott Laboratories, Inc.
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Motion for

Summary Judgment was served upon counsel of record on June 2, 2025 via the Court’s electronic

filing system.

                                                    /s/ Linda T. Coberly

                                                   Counsel for Defendants Abbott Laboratories
                                                   and Abbott Laboratories, Inc.
